Case 1-20-40402-cec DOC 44 Filed O/i2Zl/20 Entered Of/i2i/20 LO0lsyics

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re
JORGE MIGUEL PRIETO, Case No. 20-40402-cec
Debtor. | Chapter 11
X
AFFIDAVIT OF SERVICE

The undersigned, being duly sworn, states as follows:
1. Iam over eighteen years of age and am not a party to this action.

2. On July 21, 2020, I served by regular mail a copy of the Notice of Settlement Order and
proposed Order Granting Debtor’s Motion to Continue the Automatic Stay.

I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false, I
am subject to punishment.

Dated: July 21, 2020
Queens, NY

/s/Jacob Correa

Jacob Correa

Paralegal

Ortiz & Ortiz, LLP

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Case 1-20-40402-Ccec

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Bankruptcy Section

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Mailing Matrix
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Chapter 11 Case No. 20-40402

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